Case 1:21-cv-01670-JEB Document 35-4 Filed 02/10/23 Page 1 of 6




                           Exhibit C
           Case 1:21-cv-01670-JEB Document 35-4 Filed 02/10/23 Page 2 of 6




Naumes v Army: Major Phases and Summary of Fees and Costs Prior to Reduction

Chart 1:
 Phase 1: Complaint &
 Initiating Documents
 (2021)

                          Hours:           Rate per hour:       Amount:

 C. Peter Sorenson            11.6         $653                 $7,574.80

 Paralegals                   12.4         $200                 $2,480.00

 Marc Kardell                 8.2          $200                 $1,640.00

 Total                                                          $11,694.80




Chart 2:
 Phase 2: Negotiation
 & JSR (2021)

                        Hours:             Rate per hour:       Amount:

 C. Peter Sorenson       7.4               $653                 $4,832.20

 Paralegals              .6                $200                 $120.00

 Marc Kardell            3.7               $200                 $740.00

 Total                                                          $5,692.20
           Case 1:21-cv-01670-JEB Document 35-4 Filed 02/10/23 Page 3 of 6




Chart 3:
 Phase 3: MSJ & CMSJ
 Briefing Schedule
 (2021)

                              Hours:     Rate per hour:    Amount:

 C. Peter Sorenson            21.5       $653              $16,390.30

 Paralegals                   64         $200              $12,800.00

 Marc Kardell                 34.2       $200              $6,840.00

 Total                                                     $36,030.30




Chart 4:
 Phase 4: Reply &
 Opposition to
 Second MSJ (2022)

                       Hours:            Rate per hour:    Amount:

 C. Peter Sorenson      31.4             $684              $21,477.60

 Paralegals             20               $207              $4,140.00

 Marc Kardell           6.5              $207              $1,345.50

 Total                                                     $26,963.10
           Case 1:21-cv-01670-JEB Document 35-4 Filed 02/10/23 Page 4 of 6




Chart 5:
 Phase 5: Court Order
 & Implementation
 (2022)

                        Hours:           Rate per hour:    Amount:

 C. Peter Sorenson      4.2              $684              $2,872.80

 Paralegals             2                $207              $414.00

 Marc Kardell           3.4              $207              $703.80

 Total                                                     $3,990.60




Chart 6:
 Phase 6: Objection &
 JSR (2022)

                        Hours:           Rate per hour:    Amount:

 C. Peter Sorenson      42.7             $684              $29,206.80

 Paralegals             96.2             $207              $19,913.40

 Marc Kardell           16.4             $207              $3,394.80

 Total                                                     $52,515.00
           Case 1:21-cv-01670-JEB Document 35-4 Filed 02/10/23 Page 5 of 6




Chart 7:
 Phase 7: Attorney
 Fee Settlement &
 Motion (2022 &
 2023)

                        Hours:           Rate per hour:    Amount:

 C. Peter Sorenson      23.4             $684              $16,006.00

 Paralegals             48.7             $207              $10,080.90

 Marc Kardell           0                $207              $0

 Total                                                     $26,086.90




Chart 8:
 Total Attorney Fees:

                        Amount:

 Phase 1                $11,694.80

 Phase 2                $5,692.20

 Phase 3                $36,030.30

 Phase 4                $26,963.10

 Phase 5                $3,990.60

 Phase 6                $52,515.00

 Phase 7                $26,086.90

 Total                  $162,972.90
           Case 1:21-cv-01670-JEB Document 35-4 Filed 02/10/23 Page 6 of 6




Chart 9:
 Total Fees & Costs
 Prior to Reduction:

                         Amount:

 Filing Fee              $402.00

 Postage                 $26.15

 Total Costs             $428.15

 Total Attorney Fees     $162,972.90

 Total Fees & Costs      $163,401.05




Chart 10:
 Merits & Fees on Fees Breakdown
 Prior to Reduction:

                                   Amount:

 Attorney Merits (Phases 1-6)      $136,886.00

 Attorney Fees on Fees (Phase 7)   $26,086.90

 Costs                             $428.15

 Total                             $163,401.05
